Case 1:19-cv-00256-CMH-JFA Document 9 Filed 06/18/19 Page 1 of 2 PageID# 46




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

 CAROL REEVES, Individually, as       )      CASE NO.: 1:19-cv-00256-CMH-JFA
 Surviving spouse, and as Personal    )
 Representative of the Estate of      )
 RICHARD WAYNE REEVES,                )
                                     )
                       Plaintiff,     )
        vs.                           )
                                      )
 UNION CARBIDE                        )
 CORPORATION,                         )
                                     )
                       Defendant     )


                                            ORDER

        Before the Court is a Joint Motion to Cancel Pretrial Conference for June 26, 2019 and

 Notice of Pending Settlement and supporting memorandum. The Motion advises that

 Plaintiff has reached a settlement with Defendant Union Carbide Corporation and the parties

 are negotiating the specific settlement release terms. As such, the parties jointly request that

 the Pretrial Conference scheduled for June 26, 2019 be cancelled. For good cause shown,

 the parties' Joint Motion to Cancel Pretrial Conference for June 26, 2019 and Notice of

 Pending Settlement is GRANTED. Therefore, the June 26, 2019 Pretrial Conference

 SHALL be removed from the Court's calendar.

        Should the settlement not be consummated within thirty days, the parties are

 DIRECTED to file, by July 18, 2019, a status update which advises the Court of the

 progress made in finalizing the settlement.. The Court will then take such further action as

 appropriate.


                                                1
Case 1:19-cv-00256-CMH-JFA Document 9 Filed 06/18/19 Page 2 of 2 PageID# 47
